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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                    No. CR S-99-0043 WBS EFB P

12          vs.

13   DERRICK WILLIAMS,                             ORDER

14                  Movant.

15                                        /

16          Movant is a federal prisoner proceeding through counsel with a motion to vacate, set

17   aside, or correct his sentence pursuant to 28 U.S.C. § 2255. By order filed February 27, 2007,

18   the court directed counsel for respondent to show cause for his failure to timely respond to

19   movant’s § 2255 motion. Counsel filed his response to the order to show cause and his response

20   to the § 2255 motion on March 9, 2007.

21          The order to show cause filed February 27, 2007, is DISCHARGED. Movant’s reply, if

22   any, shall be filed within thirty (30) days. Thereafter, the matter will stand submitted for

23   decision.

24   So ordered.

25          DATED: March 12, 2007.

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